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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 12-22282-CIV-ZLOCH


   KARLA VANESSA ARCIA, et al.

              Plaintiffs,
                                                       O R D E R
   vs.

   KEN DETZNER, in his official
   capacity as Florida Secretary
   of State,

              Defendant.
                                      /

         THIS MATTER is before the Court upon Plaintiffs’ Motion For

   Preliminary Injunction And Summary Judgment (DE 65) and Defendant’s

   Memorandum In Opposition To Plaintiffs’ Motion For Preliminary

   Injunction And Summary Judgment (DE 79), which the Court construes

   as a Motion to Dismiss for Lack of Standing.                The Court has

   carefully reviewed said Motions, the entire court file and is

   otherwise fully advised in the premises.

                                 I. Background

         The above-styled cause concerns the implementation of the

   program known as “Processing Registered Voters - Non-Immigrants”

   (hereinafter “the Program”) by Defendant Florida Secretary of State

   Ken Detzner (hereinafter “the Secretary”). Plaintiffs are comprised

   of two individual Plaintiffs and five organizational Plaintiffs who

   claim that their rights, and those of their members, “are affected

   by the program instituted by the Florida Department of State . . .

   to carry out a systematic purge of alleged non-citizens from the
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   Florida voter rolls.”       DE 57, p. 2.       The individual Plaintiffs,

   Karla Vanessa Arcia (hereinafter            “Arcia”) and Melande Antoine

   (hereinafter    “Antoine”),    are    United    States   citizens     who   are

   registered to vote in the State of Florida and were included on the

   Secretary’s initial list of potential non-citizens.            DE 71, p. 4.

   The five organizational Plaintiffs include a labor union and various

   Florida-based civic organizations. These organizational Plaintiffs

   allege that their members are at risk of being removed from the

   voting rolls or that based on the Program, the organizations

   themselves have had to divert their resources away from their

   regular business activities and toward addressing the implementation

   of the Program.       DE 57, pp. 5-8.

         On June 19, 2012, Plaintiffs initiated this case with the

   filing of their Complaint For Declaratory And Injunctive Relief (DE

   1), alleging that the Program violated certain provisions of the

   Voting Rights Act (hereinafter “the VRA”) and the National Voter

   Registration    Act    (hereinafter     “the   NVRA”).    By   this   initial

   Complaint (DE 1), Plaintiffs alleged that in April of 2012, the

   Secretary began the process of identifying, with the intent of later

   purging, potential non-citizens from the rolls of registered voters

   in the State of Florida.      To identify such potential non-citizens,

   the Secretary gained information from the Florida Department of

   Highway Safety and Motor Vehicles (hereinafter “DHSMV”) indicating

   that a registered voter may not be a United States citizen, which


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   was then cross-checked against various other databases.                       At that

   time, the Secretary issued a press release which stated that the

   Department    of   State   was      “actively      seeking   access      to   federal

   Department of Homeland Security databases such as SAVE (Systematic

   Alien Verification for Entitlements) for further verification of

   immigration    status.”        DE    1,    pp.    7-8   (hereinafter      “the   SAVE

   database”).    The Secretary initially identified 180,000 names of

   alleged “potential non-citizens,” and sent a sample of that list,

   containing 2,625 names, to the Supervisors of Elections in Florida’s

   67 counties.       DE 57, p. 1.           The Secretary then directed these

   Supervisors to confirm whether any identified registered voter on

   the list was indeed a potential non-citizen, and if so, to begin the

   statutorily required notice and removal process to remove the

   individual from the voting rolls.

         According to Plaintiffs, the Program——especially in its initial

   implementation——proved to be inaccurate, and the list of 2,625

   “potential    non-citizens” included at least some United States

   citizens, including the two individually named Plaintiffs: Arcia and

   Antoine.     On April 30, 2012, implementation of the Program was

   temporarily suspended.      Since that time, the Secretary has received

   access to the federal SAVE database from the Department of Homeland

   Security (hereinafter “DHS”), which the Secretary alleges “is a

   rapidly    updated   federal     database        that   allows   state    and    local

   governments to check the most recent immigration status of non-


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   citizens who lawfully entered the United States.”           DE 79, p. 6. By

   checking an individual’s Alien Registration Number (hereinafter “A-

   number”), “a unique 9-digit identifier given only to non-citizens,”

   against information in the SAVE database, Defendant maintains that

   it can accurately ascertain whether a registered voter has been

   naturalized as a United States citizen.        Id., p. 7.    The Secretary

   asserts that since its August 14, 2012, declaration to use the SAVE

   database in the implementation of the Program, “the Secretary’s data

   matching program has identified at least scores of registered voters

   who have either personally attested to their lack of citizenship or

   who, after the data matching process, . . . appear to be ineligible

   registered voters based on non-citizenship.”         Id.

         On September 12, 2012, the Parties filed a Stipulation Of

   Dismissal As To Counts I, II, And Part Of Count IV Of Complaint For

   Declaratory And Injunctive Relief (DE 56), dismissing the claims

   under the VRA, and the claim under paragraph (6)(b)(a) of section

   8 of the NVRA, that the Program is not uniform, nondiscriminatory,

   and in compliance with the VRA.       Thus, the sole claim that remains

   by Plaintiffs’ First Amended Complaint (DE 57) is that the Program

   violates the NVRA’s prohibition on completing “not later than 90

   days prior to the date of a primary or general election for Federal

   office, any program the purpose of which is to systematically remove

   the names of ineligible voters from the official list of eligible

   voters.”   42 U.S.C. § 1973gg-6(c)(2)(A) (2002).


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         The Court held an evidentiary Hearing on the instant Motion (DE

   65) on October 1, 2012.        At the Hearing, the Court heard from two

   witnesses on behalf of Plaintiffs: Mr. Dale Ewart, the Assistant

   Regional    Director    of    the    Florida   Region     for   1199SEIU    United

   Healthcare Workers East, and Mr. Wilfredo Seda, the Chair of the

   National Congress for Puerto Rican Rights.                The Court then heard

   argument from Plaintiffs and the Secretary.

         By this Motion (DE 65), Plaintiffs ask that the Court do

   essentially four things: (1) declare that the State’s implementation

   of the Program, specifically in its recent use of the SAVE database,

   violates the NVRA; (2) enjoin the Secretary from conducting any

   systematic purge aimed at excluding ineligible voters prior to the

   November 6, 2012, election; (3) direct the Secretary to ensure that

   any individual who was removed after August 8, 2012, be restored to

   the voting rolls prior to October 15, 2012; (4) and instruct the

   Secretary to file with the Court a list of voters who have been so

   removed from the voting rolls and/or have been reinstated.                  DE 65,

   pp. 1-2.

                                       II. Standing

         By Defendant’s Memorandum In Opposition To Plaintiffs’ Motion

   For Preliminary Injunction And Summary Judgment (DE 79), which the

   Court construes as a Motion to Dismiss for Lack of Standing, the

   Secretary   argues     that   both    the    individual    Plaintiffs      and   the

   organizational Plaintiffs lack standing to proceed in the above-


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   styled cause.    Based on the testimony and evidence presented at the

   evidentiary Hearing held on October 1, 2012, and the facts set forth

   in Plaintiffs’ Statement Of Undisputed Material Facts In Support Of

   Their Motion For Summary Judgment (DE 65-2), the Court finds that

   only some of the Plaintiffs have established standing.           The instant

   Motion to Dismiss for Lack of Standing will therefore be granted in

   part and denied in part as detailed below.

         At the October 1, 2012 Hearing, the Court heard testimony from

   Mr. Dale Ewart, the Assistant Regional Director of the Florida

   Region for 1199SEIU United Healthcare Workers East (hereinafter

   “1199SEIU”) and Mr. Wilfredo Seda, the Chair of the National

   Congress   for   Puerto   Rican   Rights,      regarding   the   standing   of

   1199SEIU, the National Congress for Puerto Rican Rights, as well as

   that of individual Plaintiffs Arcia and Antoine.            No testimony or

   evidence was presented at the Hearing regarding the standing of

   organizational     Plaintiffs     Veye   Yo,    the    Florida   Immigration

   Coalition, Inc., or Florida New Majority, Inc.

         Plaintiffs also set forth facts supporting their standing to

   proceed in the above-styled cause in their Statement Of Undisputed

   Material Facts In Support Of Their Motion For Summary Judgment (DE

   65-2). In the context of a Motion For Summary Judgment, failure to

   controvert a fact alleged by the movant and supported by the record

   results in the same being deemed admitted.            S.D. Fla. L.R. 7.5(d).

   Plaintiffs allege facts regarding all individual and organizational


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   Plaintiffs in paragraphs 11 through and including 16 of their

   Statement Of Undisputed Material Facts        (DE 65-2).     In response to

   each the facts alleged in paragraphs 11 through and including 16,

   Defendant responds in an identical fashion:           that he is “without

   knowledge or information sufficient to form a belief as to the truth

   or falsity of the statements . . . and therefore denies them.”            DE

   79-4.       These bare and conclusory denials can hardly be understood

   to   substantively      challenge   the   facts   alleged   by   Plaintiffs,

   supported by the record, and certainly do nothing to controvert1 the

   same.       The Court notes that this case was filed June 19, 2012.      See

   DE 1.        Defendant has had more than adequate time to engage in

   discovery regarding standing, and for whatever reason has chosen not

   to do so.      The Court therefore finds it insincere for the Secretary

   to now complain that he has not been allowed sufficient time to

   address the standing issue.

         Therefore, based in large part on the Eleventh Circuit’s

   decision in NAACP v. Browning, 522 F.3d 1153 (11th Cir. 2008), the

   Court finds that the testimony presented at the October 1, 2012

   evidentiary Hearing, in conjunction with the Declarations of Maria


           1
          Mere denial of an opposing party’s statement does not
   specifically controvert anything. Pursuant to the Local Rules of
   this District, an opposing party’s statement needs to be
   supported “by specific references to pleadings, depositions,
   answers to interrogatories, admissions, and affidavits on file
   with the Court.” S.D. Fla. L.R. 7.5(c). Thus, to the extent
   Plaintiffs’ facts are supported by record evidence and not
   specifically controverted by Defendant, they are deemed admitted.


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   Del Rosario Rodriguez of Florida Immigration Coalition, Inc. (DE 65-

   5), Mr. Ewart of 1199SEIU (DE 65-6), and Mr. Seda of the National

   Congress for Puerto Rican Rights (DE 65-7), are sufficient——albeit

   minimally so——to establish the standing in the above-styled cause

   of   individual      Plaintiffs   Arcia     and    Antoine,    as     well   as

   organizational Plaintiffs the National Congress For Puerto Rican

   Rights,   1199SEIU    United   Healthcare    Workers   East,    and    Florida

   Immigrant Coalition, Inc.      Accordingly, in so far as it challenges

   the standing of these Plaintiffs, Defendant’s Motion to Dismiss for

   Lack of Standing (DE 79) will be denied.

        However, the Court recognizes that, even where not successfully

  controverted, only those facts supported by specific record evidence

  shall deemed admitted.     See S.D. Fla. L.R. 7.5(c) and 7.5(d).          As to

  organizational Plaintiffs Veye Yo and Florida New Majority, Inc.,

  the Court reiterates that no testimony or evidence regarding the

  standing of these two Plaintiffs was presented to the Court at the

  evidentiary Hearing on October 1, 2012.            While Plaintiffs do make

  statements of fact regarding these two organizational Plaintiffs in

  their Statement Of Undisputed Material Facts (DE 65-2), in support

  of those statements Plaintiffs cite only to the allegations made in

  various paragraphs of their First Amended Complaint.            See DE 65-2,

  ¶¶ 12, 15.    While Defendant’s failure to controvert the statements

  remains, the Court cannot and will not deem facts admitted where

  there is not sufficient evidence in the record to support them.


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  Beyond the bald allegations made in the First Amended Complaint (DE

  57), the Court finds no record evidence supporting the standing of

  organizational Plaintiffs Veye Yo and Florida New Majority, Inc. to

  proceed in the above-styled cause.             Accordingly, in so far as it

  challenges the standing of Plaintiffs Veye Yo and Florida New

  Majority, Inc., Defendant’s Motion to Dismiss for Lack of Standing

  (DE 79) will be granted.

                           III. Preliminary Injunction

            The Court next considers Plaintiffs’ request for the issuance

   of   a    preliminary   injunction.       A   district   court    may   grant   a

   preliminary injunction if the movant demonstrates

            (1) a substantial likelihood of success on the merits;
            (2) that irreparable injury will be suffered unless the
            injunction is issued; (3) the threatened injury to the
            moving party outweighs whatever damage the proposed
            injunction might cause the non-moving party; and (4) if
            issued, the injunction would not be adverse to the public
            interest.

   Keeton v. Anderson-Wiley, 664 F.3d 865, 868 (11th Cir. 2011) (citing

   BellSouth Telecommunications, Inc. v. MCIMetro Access Transmission

   Services, LLC, 425 F.3d 964, 968 (11th Cir. 2005)).              “A preliminary

   injunction is an extraordinary and drastic remedy not to be granted

   unless the movant clearly establishes the burden of persuasion as

   to the four requisites.”      ACLU of Florida v. Miami-Dade Cnty. Sch.

   Bd., 557 F.3d 1177, 1198 (11th Cir. 2009) (internal citation and

   quotation marks omitted).      Further, a “[f]ailure to show any of the

   four factors is fatal, and the most common failure is not showing


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   a substantial likelihood of success on the merits.”          Id.   The Court

   will thus first consider whether Plaintiffs are likely to succeed

   on the merits of the sole remaining claim in their First Amended

   Complaint——that the Program “violates Section 8(c)(2)(A) of the

   NVRA, [codified at] 42 U.S.C. § 1973gg-6(c)(2)(A).”          DE 57, p. 17.

          Subparagraph (c)(2)(A) of section 8 of the NVRA (hereinafter

   “the 90-day Provision”) reads as follows: “A state shall complete,

   not later than 90 days prior to the date of a primary or general

   election for Federal office, any program the purpose of which is to

   systematically remove the names of ineligible voters from the

   official list of eligible voters.” § 1973gg-6(c)(2)(A). Plaintiffs

   argue that the Program “violates the plain language” of the 90-day

   Provision and that no part of section 8 excepts the removal of non-

   citizens by a “systematic program” such as that which the Secretary

   is implementing here.     See DE 65-1, p. 9 & p. 14 n.9.     The Secretary

   posits several competing interpretations of section 8 of the NVRA.

   The Secretary first argues that section 8 of the NVRA simply does

   not concern the removal of individuals who were never properly

   registered in the first instance, or if it does, subsection (b)

   addresses, generally, the removal of those individuals.            DE 79, p.

   17. He then argues, in the alternative, that subparagraph (a)(3)(B)

   excepts from the 90-day provision the removal of registrants “as

   provided by State law,” which would necessarily include the State’s

   statutory proscription against a non-citizen registering to vote.


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   DE 79, p. 20.    The Court considers each of these arguments in turn.

         A. The General Removal Provision: Subsection (a)(3)

         In order to understand the meaning of the 90-day provision, the

   Court must first look to paragraph (a)(3) (hereinafter “the General

   Removal Provision”).       Paragraph (a)(3) deals with the types of

   “registrants” that may be removed from “the official list of

   eligible voters.”      § 1973gg-6(a)(3).      This provision provides:

         (a) In general.       In the administration of voter
         registration for elections for Federal office, each State
         shall–
         ...
         (3) provide that the name of a registrant may not be
         removed from the official list of eligible voters except–
              (A) at the request of the registrant;
              (B) as provided by State law, by reason of criminal
              conviction or mental incapacity; or
              (C) as provided under paragraph (4).

   Id.     Paragraph    (4)   then   addresses    the    removal   of   names   of

   “ineligible voters” by reason of: “(A) the death of the registrant;

   or (B) a change in the residence of the registrant, in accordance

   with subsections (b), (c), and (d) of this section.”                 § 1973gg-

   6(a)(4)(A)-(B).

         This   General   Removal    Provision   found    in   (a)(3)   is   later

   referenced in paragraph (c)(2), which also contains the 90-day

   Provision.     Paragraph (c)(2) explicitly exempts from the 90-day

   period certain “removals” that are enumerated in subparagraphs

   (a)(3)(A)-(C).      Subparagraph (c)(2)(B) provides:

         (B) Subparagraph (A) shall not be construed to preclude -
              (i) the removal of names from official lists of
              voters on a basis described in paragraph (3)(A) or

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               (B) or 4(A) of subsection (a) of this section; or
               (ii) correction of registration records pursuant to
               this subchapter.

   Thus, the Secretary’s Program is not subject to the 90-day provision

   if it “remov[es] [] names from official lists of voters on a basis

   described in paragraph (3)(A) or (B) or 4(A) of subsection (a) of

   this section” or corrects “registration records pursuant to this

   subchapter.”      § 1973gg-6(c)(2)(B)(i)-(ii).

          Taking     these    two      provisions     together,   then,      four

   classifications of “removals” are explicitly excepted from the 90-

   day provision, meaning that a removal on these grounds may be

   effected at any time.       These grounds include:      (1) removals at the

   request of the registrant; (2) those “provided by State law, by

   reason of criminal conviction or mental incapacity”; (3) removals

   based on the death of the registrant; and (4) “correction of

   registration records pursuant to this subchapter.”               § 1973gg-

   6(a)(3)(A)-(B), (4)(A); (c)(2)(B)(ii).            The Secretary states in a

   footnote that clause (ii), “correction of registration records,” may

   pertain to the Program and allow it to be implemented at any time;

   yet,    because    the    Parties    have   not   thoroughly   explored    an

   interpretation of this clause, and because it was not raised at the

   Hearing, the Court will not address it now.           See DE 79, p. 20 n.6.

          At first blush, it would appear that implementation of the

   Program would be excepted from the 90-day provision, because it is

   “provided by State law.”         By Florida Statute, individuals who are


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   “not [] United States citizen[s]” yet are registered to vote may be

   removed from “the statewide voter registration system.”                Fla. Stat.

   § 98.075(6) (2011).       This statute then provides for the “procedures

   for removal” that must be followed in order to remove such an

   individual.       § 98.075(7).

          Yet, subparagraph (a)(3)(B) cannot reasonably be read to create

   three independent categories for removals——those based on State law,

   criminal conviction, and mental incapacity.              Indeed, the wording of

   this subparagraph is puzzling, and if Congress wanted to clearly

   indicate that this subparagraph dealt exclusively with criminal

   convictions or mental incapacity based on State law, it could have

   stated as much.        However, if this subparagraph were intended to set

   forth    three    distinct   categories        for   removal,   then   indeed   any

   removals “based on State law” would render the 90-day provision at

   best     superfluous,     and     at    worst,   directly   inconsistent        with

   subparagraph (a)(3)(B).           In other words, removals under state law

   based on a change in residence cannot be allowed during the 90-day

   period    under    a    reading    of    subparagraph     (a)(3)(B),    yet     also

   prohibited in the 90-day period based on subparagraph (c)(2)(A).

   Thus, the Court does not find that the Program’s implementation is

   permitted based on this understanding of subparagraph (a)(3)(B).

          B. The Program Is Not Subject to the General Removal Provision
          or the 90-day Provision

          As set forth above, paragraph (a)(3) provides the exclusive

   grounds upon which a “registrant” may be removed from the “official

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   list of eligible voters.”         § 1973gg-6(a)(3) (“[T]he name of a

   registrant may not be removed from the official list of eligible

   voters except” under three enumerated grounds.”)         Therefore, if one

   were to read this provision literally and without reference to any

   other portion of section 8 of the NVRA, the only grounds by which

   a State could remove a “registrant,” would be: (1) if the registrant

   requests to be removed; (2) the registrant becomes ineligible to

   vote under State law by reason of criminal conviction or mental

   incapacity; (3) the registrant dies; or (4) the registrant changes

   his residence.

         It would necessarily follow, then, that a state would be

   prohibited from removing from its voting rolls a registrant who was

   improperly registered for other valid reasons.           So a state could

   therefore not remove from its voting rolls minors, fictitious

   individuals, individuals who in fact reside in a different state,

   and non-citizens.       Not only would this interpretation stand in

   direct contravention of Florida law, see Fla. Stat. § 98.075(6), but

   it would produce an absurd result.        See United States v. Ballinger,

   395 F.3d 1218, 1237 (11th Cir. 2005) (“[N]othing is better settled

   than that statutes should receive a sensible construction, such as

   will effectuate the legislative intention, and, if possible, so as

   to avoid an unjust or absurd conclusion.”)           Therefore, paragraph

   (a)(3) cannot apply to the removal of non-citizens. See also United

   States v. Florida, 2012 WL 2457506, at *3 (N.D. Fla. June 28, 2012)


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   (“This conclusion is inescapable: section 8(a)(3)'s prohibition on

   removing a registrant except on specific grounds simply does not

   apply to an improperly registered non-citizen.”).

         As stated above, subparagraph (c)(2)(A) lists the removals that

   are excepted from the 90-day provision: (1) removals at the request

   of the registrant; (2) those “provided by State law, by reason of

   criminal conviction or mental incapacity”; (3) removals based on the

   death of the registrant; and (4) “correction of registration records

   pursuant to this subchapter.”         § 1973gg-6(a)(3)(A)-(B), (4)(A);

   (c)(2)(B)(ii).     Therefore, the only removal under paragraph (a)(3)

   that is subject to the 90-day Provision is a removal based on “a

   change in the residence of the registrant, in accordance with

   subsections (b), (c), and (d) of this section.” § 1973gg-6(a)(4)(B).

         The Court finds no reason to conclude that the 90-day Provision

   applies to anything other than removals of registrants based on a

   change in residence.      The 90-day Provision is found in subsection

   (c), which is entitled “Voter removal programs.”          Paragraph (1) of

   subsection (c) then details         how a state is to implement the

   requirements of subsection (a)(4) [“a change in residence of the

   registrant”], such as by “establishing a program” to address the

   change-of-address of a registrant who moves inside, or outside, the

   state.     Paragraph (2) of course includes the 90-day Provision,

   which, when read in conjunction with paragraph (a)(3) reveals that

   registrants who become ineligible because of a change in residence


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   may not be removed in the 90-day period.          Finally, not only does

   subparagraph (2)(A) incorporate by reference paragraph (a)(3) in

   setting forth those removals excepted from the 90-day period, but

   the language of the two provisions track one another.           Thus, these

   two provisions are indeed “inextricably linked.”            DE 105, p. 70.

   See   also   United   States   v.   Florida,   2012   WL   2457506,   at   *3

   (“‘[R]emoved” in 8(a)(3) and ‘remove’ in 8(c)(2) mean the same

   thing.   And there is no reason to believe the reference to removing

   a ‘registrant’ in 8(a)(3) means something different than removing

   ‘ineligible voters’ in 8(c)(2) . . .).

         Another way to understand these two sets of provisions is that

   they only address the removal of once-eligible voters——those who

   were at one time bona fide registrants, yet because of personal

   request, criminal conviction, mental           incapacity, or change in

   residence, became ineligible. It is indeed notable these provisions

   are silent as to the removal of those registered voters who were

   never bona fide registrants, and whose registration was void ab

   initio by virtue of their status as minors, non-citizens, or any

   other factor that would nullify their registration.

         Put simply, these two provisions are meant to be read in

   conjunction with one another and when read together, the 90-day

   provision is meant only to proscribe the removal within 90 days of

   a federal election of registrants who become ineligible to vote

   based on a change in residence.       Plaintiffs seem to argue that the


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   90-day Provision’s use of the word “systematically” distinguishes

   some voter removal programs from others.          See DE 65-1, p. 14 n.9

   (“the Plaintiffs believe non-citizens may be removed from the voting

   rolls within 90 days of a federal election - as long as the removal

   is not party of a systematic program.”)        To be sure, subsection (c)

   sets forth mere “voter removal programs,” as opposed to systematic

   ones.    Yet, this does not change the fact that Plaintiffs cannot

   direct the Court to any provision of section 8 that differentiates

   a systematic program from a non-systematic one; nor can Plaintiffs

   direct the Court to a provision of section 8 that provides guidance

   on how to properly remove an individual from the voting rolls who

   was never eligible to vote.

         At the Hearing, Plaintiffs explored several measures that they

   aver should deter non-citizens from registering to vote, or at least

   from voting, despite their lack of citizenship.           Because it is a

   federal offense for a non-citizen to both register to vote and cast

   a vote in a federal election, such individuals should be deterred

   from breaking the law.        And if those individuals do succeed in

   casting a vote despite their non-citizenship, they can be criminally

   prosecuted.      See 42 U.S.C. § 1973gg-3(C)(2)(B)(ii); § 1973gg-

   3(C)(2)(C); 18 U.S.C. § 1015(f).       These suggestions give the Court

   little assurance.      Certainly, the NVRA does not require the State

   to idle on the sidelines until a non-citizen violates the law before

   the State can act.     And surely the NVRA does not require the State


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   to wait until after that critical juncture——when the vote has been

   cast and the harm has been fully realized——to address what it views

   as nothing short of “voter fraud.”          DE 79, p. 2.

         C. Subsection (b): Confirmation of Voter Registration

         This only leaves one statutory proscription under section 8

   that relates to the removal of non-citizens from the voting rolls.

   Subsection (b), “[c]onfirmation of voter registration,” provides

   that “[a]ny State program or activity to protect the integrity of

   the electoral process by ensuring the maintenance of an accurate and

   current     voter   registration     roll   for     elections      for   Federal

   office——(1) shall be uniform, nondiscriminatory, and in compliance

   with the Voting Rights Act of 1965 . . .”            § 1973gg-6(b)(1).       The

   only consistent reading of section 8 of the NVRA is that subsection

   (b) alone applies to programs such as the Secretary’s.              Further, it

   is   hard   to   understand   why   Congress      would   create    a    distinct

   subsection, markedly set apart from subsection (c)’s “[v]oter

   removal     programs,”    which     provides   direction        regarding    the

   “confirmation” of voter registration.             By creating two distinct

   subsections, Congress meant to differentiate the removal of once-

   eligible voters from those who were never eligible in the first

   instance.     Finally, subsection (b) is consistent with Congress’

   finding that “the right of citizens of the United States to vote is

   a fundamental right” and one of the purposes of the NVRA is “to

   ensure that accurate and current voter registration rolls are


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   maintained.”     § 1973gg(a)(1), (b)(4) (emphasis added).

          It must follow that subsection (b) was meant to apply to

   programs aimed at removing those voters whose status as registered

   voters was void ab initio.       See also United States v. Florida, 2012

   WL 2457506, at *4 (holding that pursuant to subsection (b), and in

   regard to “non-citizens, the state's duty is to maintain an accurate

   voting list. . . . But the NVRA does not require a state to allow

   a non-citizen to vote just because the state did not catch the error

   more than 90 days in advance.”)

          D. The Other Preliminary Injunction Factors

          The Court thus finds that Plaintiffs have failed to demonstrate

   “a substantial likelihood of success on the merits” on both Counts

   I and II of the First Amended Complaint (DE 57).               This failure to

   satisfy one of the four-factors requisite to obtaining a preliminary

   injunction is fatal to Plaintiffs’ Motion (DE 65), and therefore,

   the Court need not consider the other three factors.                    However,

   because they are similarly of no help to Plaintiffs, the Court will

   briefly address them.

          The Court seriously questions whether Plaintiffs can establish

   that   “irreparable     injury   .   .    .   will   be   suffered   unless   the

   injunction is issued,” based on their own 3-month delay in filing

   the instant Motion (DE 65).          Keeton, 664 F.3d at 868.           Such “a

   pattern    of   delay   is   fundamentally       inconsistent    with    .    .   .

   allegations of irreparable injury.”             Burger v. Hartley, 2011 WL


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   6826645, at *2 (S.D. Fla. Dec. 28, 2011).           This is because “the

   failure to act sooner undercuts the sense of urgency that ordinarily

   accompanies a motion for preliminary injunction and suggests that

   there is, in fact, no irreparable injury.”        Tough Traveler, Ltd. v.

   Outbound Prods., 60 F.3d 964, 968 (2d Cir. 1995).         Here, Plaintiffs

   filed the instant Motion (DE 65) three months after the June 19,

   2012, filing of their initial Complaint (DE 1), and 36 days after

   Plaintiffs allege the Secretary stated he would “purge the state

   voter registry using its access to the SAVE database.”            DE 57, p.

   12.   Thus, if the Court were to reach a substantive consideration

   of this factor, the Court would find that Plaintiffs’ delay in

   filing the instant Motion (DE 65) establishes that their purported

   injury is, in fact, not so serious as to warrant preliminary

   injunctive relief.

         The Court next considers the third and fourth factors——that

   “the threatened injury to the moving party outweighs whatever damage

   the proposed injunction might cause the non-moving party” and that

   “if issued, the injunction would not be adverse to the public

   interest.” Keeton, 664 F.3d at 868. By both state and federal law,

   the Secretary is charged with “protect[ing] the integrity of the

   electoral process” and promoting “the right of citizens of the

   United States to vote . . .”        See § 1973gg(a), 1973gg-6(b); Fla.

   Stat. § 98.075(1)-(8).      Even the Department of Justice has recently

   recognized that “federal and state governments have a compelling


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   interest in excluding foreign citizens from activities intimately

   related to the process of democratic self-government.” Brief of the

   United States Bluman v. Fed. Election Comm., 130 S. Ct. 1087 (2012)

   (No. 11-275), 2011 WL 5548718, at *11 (internal citations and

   quotation marks omitted).             The Court finds that the Secretary has

   a compelling interest in ensuring that the voting rights of citizens

   are   not     diluted    by     the    casting       of     votes   by    non-citizens.

   Alternatively, and at the very least, Plaintiffs have failed to

   convince the Court that the purported harms——that voters’ exercise

   of their rights will be chilled based on the Program, or that the

   organizational Plaintiffs will be forced to divert their resources

   toward      addressing    the    effects       of     the     Program——outweigh      the

   Secretary’s interest in protecting the integrity of the electoral

   process.

         Therefore, the Court finds that Plaintiffs have failed to

   establish a substantial likelihood of success on the merits of the

   two-Count First Amended Complaint (DE 57).                          Further, even if

   Plaintiffs were able to establish this factor, the Court finds that

   Plaintiffs cannot establish any of the other three factors requisite

   to the Court’s issuance of a preliminary injunction.                       Thus, to the

   extent   the    instant       Motion    (DE    65)    seeks     the      issuance   of   a

   preliminary injunction, the Motion is denied.

                                  IV. Summary Judgment

         The Court next turns to Plaintiffs’ request that the Court


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   grant summary judgment in favor of Plaintiffs on all Counts in the

   First Amended Complaint (DE 57).

         Under Federal Rule of Civil Procedure 56(a), summary judgment

   is appropriate “if the movant shows that there is no genuine dispute

   as to any material fact and the movant is entitled to judgment as

   a matter of law.”       Fed. R. Civ. P. 56(a); see also Eberhardt v.

   Waters, 901 F.2d 1578, 1580 (11th Cir. 1990).             The party seeking

   summary    judgment   “always   bears     the   initial   responsibility   of

   informing the district court of the basis for its motion, and

   identifying those portions of the pleadings, depositions, answers

   to interrogatories, and admissions on file, together with the

   affidavits, if any, which it believes demonstrate the absence of a

   genuine issue of material fact.” Celotex Corp. v. Catrett, 477 U.S.

   317, 323 (1986)(quotation omitted).         Indeed,

         [t]he moving party bears the initial burden to show the
         district court, by reference to materials on file, that
         there are no genuine issues of material fact that should
         be decided at trial. Only when that burden has been met
         does the burden shift to the non-moving party to
         demonstrate that there is indeed a material issue of fact
         that precludes summary judgment.

   Clark v. Coats & Clark, Inc., 929 F.2d 604, 608 (11th Cir. 1991);

   Avirgan v. Hull, 932 F.2d 1572, 1577 (11th Cir. 1991).

         The moving party is entitled to “judgment as a matter of law”

   when the non-moving party fails to make a sufficient showing of an

   essential element of the case to which the non-moving party has the

   burden of proof. Celotex Corp., 477 U.S. at 322; Everett v. Napper,


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   833 F.2d 1507, 1510 (11th Cir. 1987).           Further, the evidence of the

   non-movant is to be believed, and all justifiable inferences are to

   be drawn in his favor.         Anderson v. Liberty Lobby, Inc., 477 U.S.

   242, 255 (1986).

           The Parties stipulated, prior to the October 1, 2012, Hearing,

   that “this action involves a pure question of law under Section

   8(c)(2)(A) of the NVRA, 42 U.S.C. § 1973gg-6(c)(2)(A).”            See DE 71,

   p. 5.    Therefore, there are no disputed issues of material fact for

   the Court to consider at this time.             Applying the same reasoning

   justifying     the   Court’s    denial     of   Plaintiffs’   request   for   a

   preliminary injunction, the Court finds that Plaintiffs have failed

   to establish that the Program violates the 90-day Provision of

   section 8 of the NVRA.      Consequently, to the extent the Motion (DE

   65) seeks entry of summary judgment in Plaintiffs’ favor, it will

   be denied.

           Accordingly, after due consideration, it is

           ORDERED AND ADJUDGED as follows:

           1. Plaintiffs’ Motion For Preliminary Injunction And Summary

   Judgment (DE 65) be and the same is hereby DENIED;

           2. Defendant’s Memorandum In Opposition To Plaintiffs’ Motion

   For Preliminary Injunction And Summary Judgment (DE 79), which the

   Court construes as a Motion to Dismiss for Lack of Standing be and

   the same is hereby GRANTED in part and DENIED in part, consistent

   with the terms of this Order.            To the extent the Motion (DE 79)


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   seeks dismissal of the First Amended Complaint (DE 57) as it relates

   to Plaintiffs Veye Yo and Florida New Majority, Inc., the Motion be

   and the same is hereby GRANTED.           To the extent the Motion seeks

   dismissal as it relates to any other Plaintiff, the Motion (DE 79)

   be and the same is hereby DENIED; and

         3. The First Amended Complaint (DE 57) be and the same is

   hereby DISMISSED as it relates to Plaintiffs Veye Yo and Florida New

   Majority, Inc.

         DONE AND ORDERED in Chambers at Fort Lauderdale, Broward

   County, Florida, this       4th      day of October, 2012.




                                      WILLIAM J. ZLOCH
                                      United States District Judge

   Copies Furnished:

   All Counsel of Record




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